                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION


UNITED STATES OF AMERICA                    )       DOCKET NO. 1:06CR165
                                            )
               vs.                          )       ORDER TO DESTROY EVIDENCE
                                            )
16)MARTIN LOPEZ MENDEZ                      )
                                            )

       THIS MATTER is before the Court on the Government's motion for destruction of three

firearms seized from the Defendant during the investigation of the charges herein. Defendant has

filed no response to the request.

       For the reasons stated in the Government's motion, the Court finds that the following

firearms, which are now in the possession of the Drug Enforcement Administration, should be

destroyed in accordance with the usual procedure for the destruction of such evidence:

       a.      Remington .22 caliber rifle with partial serial number DFU;
       b.      AA Arm Model AP 9 handgun, serial number 0050000;
       c.      Sterling .25 caliber handgun, serial number S17051

       IT IS, THEREFORE, ORDERED that the Government's motion to destroy evidence is

hereby GRANTED, and the above described firearms are ordered destroyed according to law.

                                                Signed: May 14, 2008




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